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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No. CV 10-1744-JST (MANx)                                              Date: July 7, 2011
 Title: Shaunetta Eddings v. Health Net, Inc., et al.

 Present: Honorable JOSEPHINE STATON TUCKER, UNITED STATES DISTRICT JUDGE

       Ellen Matheson                                                          N/A
       Deputy Clerk                                                       Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                    ATTORNEYS PRESENT FOR DEFENDANT:

        Not Present                                                       Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S
              MOTION FOR APPROVAL OF CLASS NOTICE (Doc. 111)

         Before the Court is Plaintiff’s Motion for Approval of Class Notice. (Doc. 111.)
 Defendants filed an opposition, and Plaintiff replied. (Docs. 114, 115.) The Court finds this
 matter appropriate for decision without oral argument. Fed. R. Civ. 78(b); C.D. Cal. R. 7-15.
 Accordingly, the hearing set for July 11, 2011, at 10:00 a.m. is vacated.
         On February 23, 2011, the Court certified a class pursuant to Federal Rule of Civil
 Procedure 23 and conditionally certified a collective action pursuant to the Fair Labor Standards
 Act (“FLSA”), 29 U.S.C. § 216(b). (Doc. 109.) As part of that Order, the Court ordered the
 parties to submit a proposed notice for both the Rule 23 and FLSA classes. Plaintiff has
 submitted two proposed notices: one to be sent to California putative class members regarding
 both the FLSA collective action and the Rule 23 class (Linder Decl., Doc. 111-2, Exh. A), and
 one to be sent to putative FLSA class members outside of California (id. Exh. B).
         The notice provided to a class under Rule 23(b)(3) must satisfy Rule 23(c)(2), which
 requires a court to direct “the best notice that is practicable under the circumstances, including
 individual notice to all members who can be identified through reasonable effort.” Fed. R. Civ.
 P. 23(c)(2). Such notice must state:

        (i) the nature of the action; (ii) the definition of the class certified; (iii) the class
        claims, issues, or defenses; (iv) that a class member may enter an appearance
        through an attorney if the member so desires; (v) that the court will exclude
        from the class any member who requests exclusion; (vi) the time and manner for
        requesting exclusion; and (vii) the binding effect of a class judgment on
        members under Rule 23(c)(3).

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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. CV 10-1744-JST (MANx)                                          Date: July 7, 2011
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 Fed. R. Civ. P. 23(c)(2). As to the FLSA, although § 216(b) does not require a district court to
 approve or authorize a class notice, “it is ‘within the discretion of a district court’ to authorize
 such notice.” McElmurry v. U.S. Bank. Nat’l Ass’n, 495 F.3d 1136, 1139 (9th Cir. 2007)
 (quoting Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 171 (1989)).
         The Court concludes that the proposed notices submitted by Plaintiff as exhibits A and B
 to Jason Linder’s Declaration satisfy Rule 23(c)(2) and provide adequate notice under the FLSA,
 with two modifications. Noting the three-year statute of limitations for an FLSA claim, see 29
 U.S.C. § 255(a), the Court amends the FLSA class definition to read as “all customer service
 representatives who worked in Health Net’s call centers nationwide within the time period from
 March 10, 2007 to the present.” The notices shall reflect this modified definition for the FLSA
 class. Further, in the last sentence of the fourth paragraph on page two of the notice shown as
 exhibit A, “clam” should be changed to “claim.”
         As provided in the notices, the Court finds reasonable a 90-day period for class members
 to respond. As the Court ordered on February 23, 2011, Defendants shall produce the names and
 addresses for all potential Rule 23 and FLSA class members without delay. (See Doc. 109.)
 Contrary to Defendants’ contention, a third party administrator is not necessary to provide notice
 to the FLSA class members; Plaintiff shall be responsible for providing notice to all potential
 Rule 23 and FLSA class members and shall bear the cost of doing so.
         Accordingly, the Court GRANTS Plaintiff’s Motion for Approval of Class Notice.




                                                                Initials of Preparer: enm




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